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                      UNITED STATES COURT OF APPEALS
                           FOR THE THIRD CIRCUIT
                                ___________

                                     No. 17-1329
                                     ___________

                                  RICHARD KATZ,
                                          Appellant

                                           v.

            NATIONAL BOARD OF MEDICAL EXAMINERS;
  FEDERATION OF STATE MEDICAL BOARDS OF THE UNITED STATES INC
                ____________________________________

                    On Appeal from the United States District Court
                        for the Middle District of Pennsylvania
                        (D.C. Civil Action No. 3-15-cv-01187)
                     District Judge: Honorable Robert D. Mariani
                     ____________________________________

                   Submitted Pursuant to Third Circuit LAR 34.1(a)
                                  February 5, 2018

            Before: GREENAWAY, JR., BIBAS and ROTH, Circuit Judges

                                     ___________

                                     JUDGMENT
                                     ___________


      This cause came to be considered on the record from the United States District

Court for the Middle District of Pennsylvania and was submitted pursuant to Third

Circuit LAR 34.1(a) on February 5, 2018. On consideration whereof, it is now hereby
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              ORDERED and ADJUDGED by this Court that the judgment of the District

      Court entered February 7, 2017, be and the same is hereby affirmed. Costs taxed against

      the Appellant. All of the above in accordance with the opinion of this Court.


                                                             ATTEST:


                                                             Patricia S. Dodszuweit
                                                             Clerk

      Dated: September 25, 2018




 Certified as a true copy and issued in lieu
 of a formal mandate on October 31, 2018


Teste:
Clerk, U.S. Court of Appeals for the Third Circuit
